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                            No. 23-10326

       In the United States Court of Appeals
               for the Fifth Circuit
           _________________________________________________

           BRAIDWOOD MANAGEMENT, INC., et al.,
             Plaintiffs-Appellees/Cross-Appellants,
                                  v.
         XAVIER BECERRA, in his official capacity as
   SECRETARY OF HEALTH AND HUMAN SERVICES, et al.,
            Defendants-Appellants/Cross-Appellees.
      _________________________________________________

          On Appeal from the United States District Court
      for the Northern District of Texas, Fort Worth Division
                       Case No. 4:20-cv-283


      BRIEF OF AMICI CURIAE AMERICAN MEDICAL
    ASSOCIATION, AEROSPACE MEDICAL ASSOCIATION,
 AMERICAN ACADEMY OF OPHTHALMOLOGY, AMERICAN
    ACADEMY OF PEDIATRICS, AMERICAN COLLEGE OF
CARDIOLOGY, AMERICAN COLLEGE OF CHEST PHYSICIANS,
AMERICAN COLLEGE OF LIFESTYLE MEDICINE, AMERICAN
   COLLEGE OF OBSTETRICIANS AND GYNECOLOGISTS,
      AMERICAN COLLEGE OF OCCUPATIONAL AND
   ENVIRONMENTAL MEDICINE, AMERICAN COLLEGE OF
    PHYSICIANS, AMERICAN COLLEGE OF PREVENTIVE
     MEDICINE, AMERICAN GASTROENTEROLOGICAL
      ASSOCIATION, AMERICAN MEDICAL WOMEN’S
 ASSOCIATION, AMERICAN OSTEOPATHIC ASSOCIATION,
    AMERICAN PSYCHIATRIC ASSOCIATION, AMERICAN
SOCIETY OF CLINICAL ONCOLOGY, AMERICAN SOCIETY OF
     ECHOCARDIOGRAPHY, AMERICAN SOCIETY FOR
 GASTROINTESTINAL ENDOSCOPY, AMERICAN THORACIC
  SOCIETY, AMERICAN SOCIETY OF NEPHROLOGY, GLMA:
HEALTH PROFESSIONALS ADVANCING LGBTQ+ EQUALITY,
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 INFECTIOUS DISEASES SOCIETY OF AMERICA, NATIONAL
  HISPANIC MEDICAL ASSOCIATION, NATIONAL MEDICAL
ASSOCIATION, RENAL PHYSICIANS ASSOCIATION, SOCIETY
     FOR MATERNAL-FETAL MEDICINE, SOCIETY OF
LAPAROSCOPIC AND ROBOTIC SURGEONS, AND UNDERSEA
AND HYPERBARIC MEDICAL SOCIETY, INC., IN SUPPORT OF
     DEFENDANTS-APPELLANTS/CROSS-APPELLEES



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            CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that, in addition to the

persons and entities identified in the certificates filed by the parties and

prior amici, the following listed persons and entities as described in the

fourth sentence of Fifth Circuit Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal.

     Amici are:

           • American Medical Association

           • Aerospace Medical Association

           • American Academy of Ophthalmology

           • American Academy of Pediatrics

           • American College of Cardiology

           • American College of Chest Physicians

           • American College of Lifestyle Medicine

           • American College of Obstetricians and Gynecologists

           • American College of Occupational and Environmental
             Medicine

           • American College of Physicians

           • American College of Preventive Medicine

           • American Gastroenterological Association

           • American Medical Women’s Association
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           • American Osteopathic Association

           • American Psychiatric Association

           • American Society of Clinical Oncology

           • American Society of Echocardiography

           • American Society for Gastrointestinal Endoscopy

           • American Thoracic Society

           • American Society of Nephrology

           • GLMA: Health Professionals Advancing LGBTQ+
             Equality

           • Infectious Diseases Society of America

           • National Hispanic Medical Association

           • National Medical Association

           • Renal Physicians Association

           • Society for Maternal-Fetal Medicine

           • Society of Laparoscopic and Robotic Surgeons

           • Undersea and Hyperbaric Medical Society, Inc.

     Amici are non-profit, tax-exempt organizations. None has a parent

company, and no publicly held company has any ownership interest of

any kind in any of amici.




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                        Dated: June 27, 2023




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                      INTEREST OF AMICI CURIAE 1

      As set forth in the accompanying motion for leave, amici include

28 associations representing hundreds of thousands of practicing

physicians providing vital preventive healthcare services to millions of

patients. Amici submit this brief to explain how the decision below

jeopardizes the coverage of preventive healthcare services and

threatens to reverse positive trends in patient health.




1      No party’s counsel authored this brief in whole or in part, no party or party’s
counsel contributed money intended to fund this brief, and no person other than
amici, their members, and their counsel contributed money to fund this brief. All
parties consent to the filing of this brief.

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                            INTRODUCTION

     As professional organizations representing physicians across the

country, amici know that no-cost preventive care saves lives, saves

money, improves health outcomes, and enables healthier lifestyles.

Ensuring that patients can receive these services without financial

barriers is of the utmost importance to public health—and was one of

the central features of the Affordable Care Act. The decision below

threatens to gut the ACA’s preventive-care requirements and imperil

access to vital healthcare services nationwide. Amici file this brief to

explain the consequences the lower court’s decision could have on

preventive-care access and to encourage this Court to reverse it.

     As medical professionals, amici know that preventive care can

mean the difference between kicking a smoking habit or living with a

heightened risk of dozens of illnesses; between taking a statin or

suffering a life-changing heart attack; between providing essential

prenatal and postnatal care and screening or leaving pregnant people

and children behind; and between catching a patient’s cancer early or

catching it after it’s too late. Identifying and treating conditions before




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they worsen, or before they present at all, yields better outcomes for

patients and saves money for the health system overall.

     By increasing access to insurance coverage, and by requiring

insurance plans to cover preventive-health services without cost-

sharing, such as copays and deductibles, the Affordable Care Act

greatly expanded the availability of these services. In passing that

statute, Congress incorporated the recommendations of the U.S.

Preventive Services Task Force (“USPSTF” or “Task Force”), an

objective, rigorous body of experts—a decision that ensures that

insurers have to cover only the services that the available medical

evidence demonstrates deliver high value to patients and the health

system. The ACA’s preventive-care requirements have functioned for

more than ten years, enabling millions of Americans to obtain no-cost

preventive care and improving utilization of these vital services

nationwide.

     The district court’s holding regarding Task Force services will

make it more difficult for Americans to access life-saving preventive

care. In the face of copays and deductibles, not to mention uncertainty

as to whether, for example, a cancer screening will be covered by


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insurance, many Americans may forgo preventive services that could

save or drastically improve their lives—to their detriment and to the

detriment of our nation’s health system.

      For the reasons that the government explains, the decision below

regarding USPSTF services is wrong on the law and should be reversed

on the merits. At minimum, this Court should reverse the nationwide

injunction that the district court issued. Amici write to illustrate the

grave harms that amici’s patients stand to face should the Court leave

intact that expansive remedy. Amici urge this Court not to disrupt

access to the no-cost preventive-care services that patients have enjoyed

for more than a decade—services that have led to lifesaving and health-

improving care for millions of people. 2




2     For the same reasons, amici urge the Court to affirm the district court’s
holding with respect to the service recommendations of the Advisory Committee on
Immunization Practices (“ACIP”) and the Health Resources and Services
Administration (“HRSA”). Insofar as plaintiffs contest the district court’s holdings
regarding ACIP and HRSA in their cross-appeal, amici may address ACIP and
HRSA services—and the harms to patients should access to those services be
undermined—in supplemental briefing, in accordance with the briefing schedule
entered by this Court, see Dkt. 156 (5th Cir. June 13, 2023).

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                                  ARGUMENT

I.    Encouraging patients to obtain preventive care improves
      health outcomes and the functioning of the health system
      overall.

      Preventive care is an umbrella term that refers to “[r]outine

health care that includes screenings, check-ups, and patient counseling

to prevent illnesses, disease, or other health problems.” 3 As medical

professionals, amici have an obligation to ensure that our patients, and

the public as a whole, receive medically indicated preventive services.

As Principle VII of the AMA Principles of Medical Ethics states, “A

physician shall recognize a responsibility to participate in activities

contributing to the improvement of the community and the betterment

of public health.” 4 To that end, Opinion 8.11 of the AMA Code of

Medical Ethics specifies that, “[w]hile a physician’s role tends to focus

on diagnosing and treating illness once it occurs, physicians also have a




3      Preventive Services, HealthCare.gov,
https://www.healthcare.gov/glossary/preventive-services/ (last visited June 23,
2023).
4      AMA Principles of Medical Ethics, AMA Code Med. Ethics, https://code-
medical-ethics.ama-assn.org/principles (last revised June 2001).

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professional commitment to prevent disease and promote health and

well-being for their patients and the community.” 5

      An extensive body of evidence demonstrates how preventive care

can help patients live longer, healthier lives. Preventive services

include both services aimed at the early detection and treatment of

potentially fatal medical conditions and chronic diseases, as well as

services aimed at encouraging people to adopt healthy lifestyles.

Preventive care can therefore “help people avoid acute illness, identify

and treat chronic conditions, prevent cancer or lead to earlier detection,

and improve health.” 6 “When provided appropriately, these services can

identify diseases at earlier stages when they are more treatable or may

reduce a person’s risk for developing a disease.” 7 Similarly, “[i]mproved

access to prenatal care is a public health gain as late entry into



5      Opinion 8.11, Health Promotion & Preventive Care, AMA Code Med. Ethics,
https://code-medical-ethics.ama-assn.org/sites/default/files/2022-08/8.11.pdf (last
visited June 23, 2023).
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prenatal care or no prenatal care is known to contribute to poor birth

outcomes, especially an increase in low birthweight and preterm

babies.” 8 Overall, a 2007 study by the National Commission on

Prevention Priorities estimated that “[i]ncreasing the use of just 5

preventive services,” including several Task Force-recommended

services, “would save more than 100,000 lives each year in the United

States.” 9

      Preventive care also reduces overall spending on health care. By

“reduc[ing] the amount of undiagnosed or untreated conditions,”

preventive care “is expected to reduce costs through less invasive or

complex treatment options.” 10 For instance, cancer is cheaper to treat at

the outset than after it has metastasized. While prevention does not

always reduce medical costs in all instances, “[t]here are a number of

preventive services that directly reduce costs,” including “childhood


8      Susan Gennaro et al., Improving Prenatal Care for Minority Women, 41 Am.
J. Maternity Child Nursing 147, 148 (2016),
https://journals.lww.com/mcnjournal/Abstract/2016/05000/Improving_Prenatal_Car
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9      Preventive Care: A National Profile on Use, Disparities, and Health Benefits,
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10     Robert Brent Dixon & Attila J. Hertelendy, Interrelation of Preventive Care
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immunizations, risky behavior counseling (e.g. smoking cessation, illicit

drug abstinence), . . . and certain cancer screens.” 11 Indeed, “[e]ighteen

of the 25 preventive services evaluated by the [National Convention on

Prevention Priorities] cost $50,000 or less per quality-adjusted life year

(QALY) and 10 of these cost less than $15,000 per QALY, all well within

the range of what is considered a favorable cost-effectiveness ratio.” 12

      But patients reap the many benefits of preventive care only if they

access preventive-care services in the first place. That can be an uphill

battle, 13 and the cost of care is a core reason why. 14 In particular,

“[s]tudies have shown that out-of-pocket payments can be a barrier to

the use of recommended preventive services, and reductions in cost

sharing were found to be associated with increased use of preventive

services.” 15 Indeed, a 2012 meta-analysis of 47 separate studies found


11     Id.
12     P’ship for Prevention, supra note 9, at 12.
13     2022 ASPE Report, supra note 6, at 7.
14     Amanda Borsky et al., Few Americans Receive All High-Priority, Appropriate
Clinical Preventive Services, 37 Health Affs. 925, 927 (2018),
https://www.healthaffairs.org/doi/10.1377/hlthaff.2017.1248.
15     Christine Leopold et al., The Impact of the Affordable Care Act on Cancer
Survivorship, 23 Cancer J. 181, 184 (2017),
https://journals.lww.com/journalppo/Fulltext/2017/05000/The_Impact_of_the_Afford
able_Care_Act_on_Cancer.6.aspx; J. Frank Wharam et al., Two-Year Trends in
Cancer Screening Among Low Socioeconomic Status Women in an HMO-Based

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“strong[] support” for “the concept that cost sharing, as a financial

barrier, decreases … the use of preventive services.” 16 Prior to the

enactment of the Affordable Care Act, the majority of Americans either

lacked health insurance or were enrolled in insurance plans that did not

cover preventive care without cost-sharing 17—creating a substantial

barrier to widespread use of preventive care.

II.   The Affordable Care Act significantly expanded access to
      no-cost preventive care.

      Congress passed the Affordable Care Act in 2010 “to improve

national health-insurance markets and extend coverage to millions of

people without adequate (or any) health insurance.” Me. Cmty. Health

Options v. United States, 140 S. Ct. 1308, 1315 (2020). Increasing access

to preventive care is a core component of the scheme that Congress

designed. As then-Secretary of Health and Human Services Kathleen


High-Deductible Health Plan, 27 J. Gen. Internal Med. 1112, 1112 (2012),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3515008/pdf/11606_2012_Article_20
57.pdf (“Previous research suggests that cost-sharing broadly reduces use of medical
services, including cancer screening.”).
16     Reza Rezayatmand et al., The Impact of Out-of-Pocket Payments on
Prevention and Health-Related Lifestyle: A Systematic Literature Review, 23 Eur. J.
Pub. Health 74, 77 (2012), https://pubmed.ncbi.nlm.nih.gov/22544911/.
17     Xuesong Han et al., Has Recommended Preventive Service Use Increased After
Elimination of Cost-Sharing as Part of the Affordable Care Act in the United
States?, 78 Preventive Med. 85, 87 (2015),
https://www.sciencedirect.com/science/article/abs/pii/S0091743515002285?via%3Dih
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Sebelius noted, “Many of the 10 major titles in the law, especially Title

IV, Prevention of Chronic Diseases and Improving Public Health,

advance a prevention theme through a wide array of new initiatives and

funding.” 18

      Specifically, Congress sought to eliminate cost-sharing

requirements for accessing vital, evidence-backed preventive services. 19

In doing so, “the ACA transforms the U.S.’s public and private health

care financing systems into vehicles for promoting public health.” 20 As

relevant here, 42 U.S.C. § 300gg-13 mandates:

      A group health plan and a health insurance issuer offering
      group or individual health insurance coverage shall, at a
      minimum provide coverage for and shall not impose any cost
      sharing requirements for—

               (1) evidence-based items or services that have in effect
                   a rating of “A” or “B” in the current




18     Howard K. Koh & Kathleen G. Sebelius, Promoting Prevention through the
Affordable Care Act, 363 N.E. J. Med. 1296, 1296 (2010),
https://www.nejm.org/doi/10.1056/NEJMp1008560?url_ver=Z39.88-2003.
19     See id. (“A major strategy is to remove cost as a barrier to these services,
potentially opening new avenues toward health.”).
20     John Aloysius Cogan Jr., The Affordable Care Act’s Preventive Services
Mandate: Breaking Down the Barriers to Nationwide Access to Preventive Services,
39 J.L. Med. & Ethics 355, 355 (2011),
https://journals.sagepub.com/doi/10.1111/j.1748-720X.2011.00605.x.

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               recommendations of the United States Preventive
               Services Task Force . . . . 21

      “The [Task Force] is an internationally recognized, independent

panel of nonfederal experts in primary care, prevention, and research

methods that makes evidence-based recommendations to guide the

delivery of clinical preventive services.” 22 Some have even referred to

the Task Force’s methodology as the “gold standard” for clinical practice

recommendations. 23 An “A” or a “B” recommendation indicates

moderate to high certainty that the net benefits of a given service are

moderate to substantial; other grades include “C,” meaning that a

service should be provided selectively, “D,” meaning that a service is



21     These requirements do not apply to so-called “grandfathered” plans, meaning
plans that were in existence prior to 2010 and are therefore exempt from certain
ACA provisions.
22     Janelle Guirguis-Blake et al., Current Processes of the U.S. Preventive
Services Task Force: Refining Evidence-Based Recommendation Development, 147
Annals Internal Med. 117, 117 (2007),
https://www.researchgate.net/publication/6260162_Current_Processes_of_the_US_P
reventive_Services_Task_Force_Refining_Evidence-
Based_Recommendation_Development.
23     Doug Campos-Outcalt, Practice Alert: US Preventive Services Task Force: The
Gold Standard of Evidence-Based Prevention, 54 J. Fam. Pract. 517, 517 (2005),
https://cdn.mdedge.com/files/s3fs-public/Document/September-
2017/5406JFP_PracticeAlert.pdf; Chyke A. Doubeni et al., Viewpoint: Addressing
Systemic Racism Through Clinical Preventive Service Recommendations from the
US Preventive Services Task Force, 325 J. Am. Med. Ass’n 627, 627 (2021),
https://jamanetwork.com/journals/jama/article-abstract/2775793 (citing Inst. Med.,
Clinical Practice Guidelines We Can Trust (Robin Graham et al. eds., 2011));
Guirguis-Blake et al., supra note 22, at 117.

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discouraged, and “I,” meaning that there is insufficient evidence to

assess the costs and benefits of a service. 24

      The Task Force has assigned a grade of A or B to 46 services,

which have become core components of preventive medicine. These

services include:

      •     Screenings, genetic assessments, risk-reducing medications,

            and behavioral counseling for various cancers, including

            breast, colorectal, lung, skin, and various cancers of the

            female reproductive system.

      •     Preventive services for pregnant people and those who have

            recently given birth, including screening for aspirin use in

            those at high risk for preeclampsia, interventions to support

            breastfeeding, screenings for sexually transmitted diseases,

            folic acid supplements for neural tube defects, gestational

            diabetes screening, preventive medications for newborns,

            and blood testing.




24     Grade Definitions, U.S. Preventive Servs. Task Force,
https://www.uspreventiveservicestaskforce.org/uspstf/about-uspstf/methods-and-
processes/grade-definitions (last updated June 2018).

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      •     Precautionary screenings for certain population-wide

            diseases and conditions, including hepatitis, human

            immunodeficiency virus (HIV), and hypertension.

      •     Services for populations at high risk for certain conditions,

            including aneurysm screening in men aged 65 to 75 who

            have a history of smoking, cardiovascular disease screening

            among at-risk populations, tuberculosis screening, screening

            for osteoporosis in women aged 65 and older, screening for

            prediabetes and Type 2 Diabetes in adults aged 35 to 70 who

            are overweight or have obesity, and statin use in adults aged

            40 to 75 years with cardiovascular risk factors.

      •     Preventive mental health screenings, including anxiety and

            depression screening in children and adults.

      •     General, population-wide services aimed at encouraging

            healthy lifestyles, including obesity screening and weight

            loss programs, tobacco cessation programs, and screening for

            unhealthy drug and alcohol use. 25



25     A & B Recommendations, U.S. Preventive Servs. Task Force,
https://www.uspreventiveservicestaskforce.org/uspstf/recommendation-
topics/uspstf-a-and-b-recommendations (last visited June 23, 2023).

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In enacting the ACA, Congress sought to guarantee access to services

like these regardless of financial constraints.

      The ACA’s preventive-care requirements have generally been

successful in expanding access to preventive care, and, for that reason,

have proven to be one of the most popular parts of the statute. 26 “While

some plans already covered the full costs of these services prior to the

Affordable Care Act, millions of Americans were enrolled in health

plans that did not.” 27 In 2014, the Office of the Assistant Secretary for

Planning and Evaluation (ASPE) of the U.S. Department of Health and

Human Services estimated that 76 million individuals gained access to

preventive care without cost-sharing as a result of the ACA, either by

newly enrolling in private insurance or by having already enrolled in




26     See Ashley Kirzinger et al., 5 Charts About Public Opinion on the Affordable
Care Act, Kaiser Fam. Found. (Apr. 14, 2022), https://www.kff.org/health-
reform/poll-finding/5-charts-about-public-opinion-on-the-affordable-care-act-and-
the-supreme-court/ (finding that 62% of Americans saw it as “very important” that
preventive care requirements be kept in place).
27     Amy Burke & Adelle Simmons, Increased Coverage of Preventive Services
with Zero Cost Sharing Under the Affordable Care Act, Ass’t Sec’y for Plan. &
Evaluation, U.S. Dep’t of Health & Human Servs. 2 (June 27, 2014),
https://aspe.hhs.gov/sites/default/files/migrated_legacy_files//44251/ib_PreventiveSe
rvices.pdf.

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insurance plans that added coverage of preventive care after the ACA’s

enactment. 28

     The number of Americans with insurance that covers preventive

care with no out-of-pocket costs has continued to grow over the

subsequent decade. “In 2020, the most recent year of data available,”

statistics indicate that “151.6 million individuals currently have private

health coverage that covers preventive services with zero cost-sharing,”

including “approximately 58 million women, 57 million men, and

37 million children.” 29 The ACA’s preventive-care requirements can also

apply to Medicaid expansion enrollees, adding another 20 million

adults, 30 and to Medicare enrollees, if HHS has determined that a given

service is appropriate for inclusion in the program, adding 61.5 million

individuals more. 31 In other words, approximately 233 million people

are currently enrolled in health plans that must cover preventive

services without cost-sharing.




28   Id.
29   2022 ASPE Report, supra note 6, at 3.
30   Id. at 6.
31   Id. at 7.

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      This dramatic expansion of preventive coverage has generally

increased the utilization of preventive services. A recent study found,

for example, that “6 in 10 privately insured people (60%) received ACA

preventive care in 2018,” or roughly 100 million people. 32 A 2022

literature review of 35 separate studies conducted by the University of

Michigan Center for Value-Based Insurance Design determined that

“[t]he majority of findings in our literature conclude that cost-sharing

elimination led to increases in utilization for select preventive

services.” 33 “Changes in utilization may be localized or augmented

among specific populations, including low-income individuals, Medicare

beneficiaries lacking supplemental insurance, and those with high

levels of cost-sharing for a service pre-elimination,” which “suggest that

low-socioeconomic groups and those who experience the greatest

financial barriers to care appear to benefit the most from cost-sharing




32     Krutika Amin et al., Preventive Services Use Among People with Private
Insurance Coverage, Peterson-KFF Health Sys. Tracker (Mar. 20, 2023),
https://www.healthsystemtracker.org/brief/preventive-services-use-among-people-
with-private-insurance-coverage/.
33     Hope C. Norris et al., Utilization Impact of Cost-Sharing Elimination for
Preventive Care Services: A Rapid Review, 79 Med. Care. Rsch. & Rev. 175, 192
(2022), https://www.deepdyve.com/lp/sage/utilization-impact-of-cost-sharing-
elimination-for-preventive-care-bpUvb2r4Lr?key=sage.

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elimination.” 34 To the extent preventive services remain under-utilized,

it is because of additional barriers like lack of awareness of particular

services or the benefits of preventive care. 35

      So, for example, a study of 64,000 adults with different insurance

profiles found that in the two years after the ACA’s preventive-care

mandate eliminated cost-sharing for many health plans, “the rate of

uptake increased for some” services, including “[b]lood pressure check,

cholesterol check, and flu vaccination.” 36 The study’s authors concluded

that there were “some positive benefits of the provisions,” even in the

face of “limited overall awareness and understanding of the ACA during

the early days.” 37


34     Id. at 193; see also Lindsay M. Sabik & Georges Adunlin, The ACA and
Cancer Screening and Diagnosis, 23 Cancer J. 151, 161 (2017),
https://journals.lww.com/journalppo/Fulltext/2017/05000/The_ACA_and_Cancer_Scr
eening_and_Diagnosis.2.aspx (“Despite mixed findings, evidence to date suggests
that impacts on screening were greatest among those with lower education and
income, as well as groups that faced the highest cost-barriers to screening prior to
the ACA. Thus, key populations targeted by the ACA’s provisions appear to have
benefited the most in terms of access to cancer screening.”)
35     Norris et al., supra note 33, at 193.
36     Han et al., supra note 17, at 86–87.
37     Id. at 89; see also Heidi D. Nelson et al., Mammography Screening in a Large
Health System Following the U.S. Preventive Services Task Force Recommendations
and the Affordable Care Act, 10 PLOS One (June 2015), at 2,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4487998/pdf/pone.0131903.pdf
(“Mammography screening volumes in a large community health system decreased
among women age <50 and ≥75 in association with new U.S. Preventive Services

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      More recent studies have found significant increases in cancer

screening rates. ASPE’s 2022 report on preventive care utilization found

that “[s]tudies examining changes in cancer screening among privately

insured individuals after the ACA eliminated cost-sharing show an

overall increase in colorectal cancer screening tests,” as well as

“increase[d] cervical cancer screening rates among Latinas and

Chinese-American women.” 38 And a study of improvements in cancer

screenings in community health centers found that “both increased

insurance options (Medicaid expansion and subsidized exchange

coverage) and preventive service coverage requirements (ensuring no

out-of-pocket cost to patients for these screenings) helped patients

obtain recommended services.” 39

      Studies have also confirmed that the ACA’s preventive care

requirements increased the use of general wellness services. A 2014

study found that the expansion of insurance “accounted for the increase



Task Force practice recommendations, while insurance coverage changes under the
Affordable Care Act were associated with increased screening volumes among
women age 50-74.”).
38    2022 ASPE Report, supra note 6, at 7, 8.
39    Nathalie Huguet et al., Cervical and Colorectal Cancer Screening Prevalence
Before and After Affordable Care Act Medicaid Expansion, 124 Preventive Med. 91,
95 (2019), https://www.sciencedirect.com/science/article/pii/S0091743519301719.

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in young adults’ receipt of a routine examination” in the preceding year,

which “suggests that young adults will take initiative to seek a routine

examination when financial barriers are removed.” 40 It also found that

“insurance accounted for the increase in receiving a blood pressure

screening and accounted for part of the increases in receiving a

cholesterol screening.” 41 Similarly, “the percentage of Medicare

beneficiaries utilizing annual wellness visits increased 14.9 percentage

points between 2011 (the first year when such visits were covered) and

2016, rising from 8.1 percent to 23.0 percent.” 42 Other studies have

suggested that the ACA has made it more likely that pregnant persons

will seek vital prenatal care. 43

      These improvements mean that more Americans, including

pregnant persons and children, are now able to take steps toward living

healthier lives as a result of the requirement that insurers cover


40     Josephine S. Lau et al., Improvement in Preventive Care of Young Adults
After the Affordable Care Act: The Affordable Care Act Is Helping, 168 J. Am. Med.
Ass’n 1101, 1105 (2014),
https://jamanetwork.com/journals/jamapediatrics/fullarticle/1913624.
41
       Id.
42     2022 ASPE Report, supra note 6, at 8.
43     Yhenneko J. Taylor et al., Insurance Differences in Preventive Care Use and
Adverse Birth Outcomes Among Pregnant Women in a Medicaid Nonexpansion
State: A Retrospective Cohort Study, 29 J. Women’s Health 29, 30 (2020),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6983742/pdf/jwh.2019.7658.pdf.

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preventive services. The availability of no-cost preventive care has also

improved utilization and health outcomes among populations that have

historically been subjected to discrimination. Racial and ethnic

disparities in health outcomes persist “even when access-related factors,

such as patients’ insurance status and income, are controlled.” 44 In

particular, “[r]acial and ethnic disparities in utilization of preventive

care services are well-documented.” 45 However, a recent study

concluded that “[g]iven the large differences in the share of uninsured

and the use of clinical preventive services among Black and Hispanic

adults relative to White adults pre-ACA, the ACA does appear to have

reduced the differences between minority adults and White adults.” 46

To take one example, “[t]he growth in the use of mammography

(Hispanic women) and colonoscopy screening … increased at a higher


44     Unequal Treatment: Confronting Racial and Ethnic Disparities in Health
Care, Inst. of Med. 1 (Brian D. Smedley et al. eds., 2003),
https://nap.nationalacademies.org/catalog/10260/unequal-treatment-confronting-
racial-and-ethnic-disparities-in-health-care; see also Shirley A. Hill, Inequality and
African-American Health: How Racial Disparities Create Sickness 11, 60 (2016).
45     Cagdas Agirdas & Jordan G. Holding, Effects of the ACA on Preventive Care
Disparities, 16 Applied Health Econ. & Health Pol’y 859, 860 (2018),
https://link.springer.com/article/10.1007/s40258-018-0423-5.
46     Kenneth E. Thorpe, Racial Trends in Clinical Preventive Services Use,
Chronic Disease Prevalence, and Lack of Insurance Before and After the Affordable
Care Act, 28 Am. J. Managed Care (Apr. 2022), https://www.ajmc.com/view/racial-
trends-in-clinical-preventive-services-use-chronic-disease-prevalence-and-lack-of-
insurance-before-and-after-the-affordable-care-act.

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percentage point rate among both Hispanic and Black adults compared

with White adults with the implementation of the ACA.” 47 Other

studies have also found increases in cancer screening rates and

improvements in blood pressure and glucose levels among members of

historically marginalized communities. 48

III. Affirming the judgment below would imperil access to
     preventive care for millions of Americans.

      The district court’s holding with respect to Task Force services—

and, crucially, its imposition of a nationwide injunction rather than

plaintiff-specific relief—jeopardizes coverage of preventive services that

plaintiffs never suggested injure them in any way. Such a decision

would allow insurers nationwide to reimpose cost-sharing requirements

on millions of Americans. In other words, it would allow insurers to

charge their enrollees—amici’s patients—for mammograms,

colonoscopies, and other services at will.

      That decision jeopardizes preventive care for tens of millions of

Americans. Although it is difficult to know exactly how many plans will

cease covering no-cost preventive services, a 2022 Employee Benefit


47    Id.
48    See, e.g., 2022 ASPE Report, supra note 6, at 8, 10; Agirdas & Holding, supra
note 45, at 869.

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Research Institute survey of employers found that between 8 and 20

percent of respondents may impose cost-sharing for some preventive

services. 49 “According to the Kaiser Family Foundation’s Employer

Health Benefits Survey in 2012, 41 percent of all workers were covered

by employer-sponsored group health plans that expanded their list of

covered preventive services due to the Affordable Care Act.” 50 If even

ten percent of those workers’ plans reverted to excluding preventive

care or requiring cost-sharing—at the low end of the survey’s findings—

more than six million Americans could lose access to no-cost preventive

services.

      Patients who fall within that category could therefore face

substantial out-of-pocket costs for obtaining preventive services—costs

that could deter many of them from seeking necessary care. A recent

Morning Consult survey found that “at least half [of survey

respondents] said they would not pay out of pocket for preventive

services such as tobacco cessation or screenings for HIV, depression and



49     Will Employers Introduce Cost Sharing for Preventive Services? Finding from
EBRI’s First Employer Pulse Survey, EBRI Fast Facts (Oct. 27, 2022),
https://www.ebri.org/docs/default-source/fast-facts/ff-445-pssurvey-
27oct22.pdf?sfvrsn=52f4382f_4.
50     Burke & Simmons, supra note 27, at 2.

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unhealthy drug use.” 51 Thirty-eight percent of the adults in the survey

responded that they would not even pay for cancer screenings. 52

      In other words, subjecting patients to a copay or deductible to

access preventive services will deter some of them—and, in particular,

those of limited means—from scheduling mammograms, colonoscopies,

and screening tests for osteoporosis, hypertension, diabetes, lung

cancer, depression, and other conditions that could shorten their lives if

undetected and untreated. 53 Millions of patients could lose first-dollar

coverage for cholesterol treatment, tobacco and alcohol cessation, and

diet and obesity counseling. And pregnant persons and children will

suffer from missing screenings and treatments during critical phases of

pregnancy and early childhood. Deterring patients from receiving these




51      Ricky Zipp, Many Americans Are Likely to Skip Preventive Care if ACA
Coverage Falls Through, Morning Consult (Mar. 8, 2023),
https://morningconsult.com/2023/03/08/affordable-care-act-polling-data/.
52      Id.
53      See Harris Meyer, Court Ruling May Spur Competitive Health Plans to Bring
Back Copays for Preventive Services, Kaiser Health News (Sept. 15, 2022),
https://khn.org/news/article/court-ruling-health-plans-copays-preventive-services/
(“Tom York, 57, said he appreciates the law’s mandate because until this year the
deductible on his plan was $5,000, meaning that without that ACA provision, he
and his wife would have had to pay full price for those services until the deductible
was met. ‘A colonoscopy could cost $4,000,’ he said. ‘I can’t say I would have skipped
it, but I would have had to think hard about it.’”).

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vital services will result in worse health outcomes and impose higher

costs on the health system to treat the maladies that emerge or worsen.

      All Americans, moreover, will be affected by the confusion that

would emerge from gutting the ACA’s decade-old preventive-care

requirements. Doing so would yield a “confusing patchwork of health

plan benefit designs offered in various industries and in different parts

of the country,” making it difficult for “[p]atients who have serious

medical conditions or are at high risk for such conditions” to “find[] a

plan that fully covers preventive and screening services.” 54 Patients

will, for the first time in ten years, have to scrutinize insurance plans to

determine what preventive services they cover, and at what out-of-

pocket cost. And they will have to do so both when deciding which plan

to select during enrollment, and then again when deciding whether to

obtain a particular service. Many will instead decide to forgo basic

preventive services entirely. 55



54     Id.
55     See, e.g., Norris et al., supra note 33, at 193 (identifying “patients’
unawareness of what services are exempt from cost-share” and “misperceptions of
the importance of preventive care” as reasons patients decline to obtain preventive
care); Stacey A. Fedewa et al., Elimination of Cost-Sharing and Receipt of Screening
for Colorectal and Breast Cancer, 121 Cancer 3272, 3278 (2015),
https://acsjournals.onlinelibrary.wiley.com/doi/epdf/10.1002/cncr.29494.

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      Insurers may also alter their plans in ways that distort the

functioning of the insurance system. Insurers would likely design their

preventive-services benefits to attract healthier customers, reducing

their overall costs, or use cost-sharing requirements to lower premiums,

forcing other insurers to follow suit to compete. 56 Even plans that hold

out and “keep a zero-cost policy for preventive services such as HIV

prevention, diabetes screening, and lung cancer screening for smokers

may gain a higher-risk population, forcing them to eventually add cost

sharing to survive financially.” 57 Put simply, “[y]ou end up with a race

to the bottom” 58—the precise opposite of what Congress sought to

achieve in enacting the Affordable Care Act. Although some states

might impose no-cost preventive care requirements by state law, only

six states have done so thus far, and their authority to do so is limited




56     Meyer, Court Ruling, supra note 53; see also Harris Meyer, What Will Payers
Do If Courts Strike Down the ACA’s No-Cost Requirement for Preventive Services?,
Managed Healthcare Exec. (Sept. 7, 2022),
https://www.managedhealthcareexecutive.com/view/what-will-payers-do-if-courts-
strike-down-the-aca-s-no-cost-requirement-for-preventive-services- [hereinafter
Meyer, What Will Payers Do].
57     Meyer, What Will Payers Do, supra note 56.
58     Id.

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to individual and small business health plans, not large employer

plans. 59

      If the decision below invalidating the Task Force’s

recommendations nationwide is not reversed, amici know from

experience that their patients will be less likely to accept services that

will save lives. Patients will struggle to navigate new and confusing

insurance schemes. Ultimately, amici will see many of their patients,

including some of their most vulnerable, turn down medically indicated

services because of the very financial barriers that Congress sought to

remove. The past ten years have shown the benefits of no-cost

preventive coverage. Amici ask the Court to preserve those benefits by

reversing the expansive injunctive relief that imperils access to no-cost

preventive care nationwide.

                                CONCLUSION

      The Court should reverse the judgment of the lower court with

respect to Task Force services and reverse the nationwide injunction.



59     Michael Ollove, Lawsuit Could End Free Preventive Health Checkups,
Stateline, Pew Charitable Trusts (Aug. 9, 2022),
https://www.pewtrusts.org/en/research-and-
analysis/blogs/stateline/2022/08/09/lawsuit-could-end-free-preventive-health-
checkups.

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                                  Respectfully submitted,

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of Fed. R. App. P. 32(a)(7)(B) because, excluding the parts exempted by

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                                       s/ Madeline H. Gitomer

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                                       Dated: June 27, 2023
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                       CERTIFICATE OF SERVICE

     I, Madeline H. Gitomer, counsel for amici, certify that on June 27,

2023, a copy of the foregoing brief was filed electronically through the

appellate CM/ECF system with the Clerk of the Court. I further certify

that all parties required to be served have been served.

                                        s/ Madeline H. Gitomer

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